Case 2:11-cv-08557-CAS-DTB Document 637 Filed 08/27/21 Page 1 of 5 Page ID #:26458
                                             United States District Court                              Jeffrey S. Thomason
                                                  Central District of California         Acting Chief Probation and Pretrial Services Officer
                                                                                                 255 East Temple Street, Suite 1410
                                                  Office of the Clerk
                                                                                                      Los Angeles, CA 90012

                                                                                                   Cristina M. Squieri Bullock
             Kiry K. Gray                                                                          Chief Deputy of Administration
 District Court Executive / Clerk of Court                                                         350 West 1st Street, Suite 4311
      350 West 1st Street, Suite 4311                                                                 Los Angeles, CA 90012
          Los Angeles, CA 90012
                                                                                                        Sara Tse Soo Hoo
                                                                                                    Chief Deputy of Operations
                                                                                                255 East Temple Street, Suite TS-134
                                                                                                      Los Angeles, CA 90012

                                                       August 27, 2021

    See attached list of counsel

              Re:       Everardo Carrillo, et al. v. Schneider Logistics, Inc. et al.
                        2:11-CV-08557 CAS (DTBx)

    Dear Counsel:

           I have been contacted by Judge Snyder who presided over the above-mentioned case,
    which is now closed.

           Judge Snyder informed me that it has been recently brought to her attention that, while
    she presided over the case, she owned stock in Wal-Mart from February 16, 2012 through June
    1, 2012. Her ownership of stock neither affected nor impacted her decisions in this case.
    However, the stock ownership would have required recusal under the Code of Conduct for
    United States Judges. Therefore, Judge Snyder directed that I notify the parties of the conflict.

           Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
    provides the following guidance for addressing disqualification that is not discovered until after a
    judge has participated in a case:

                         [A] judge should disclose to the parties the facts bearing on
                         disqualification as soon as those facts are learned, even though
                         that may occur after entry of the decision. The parties may then
                         determine what relief they may seek and a court (without the
                         disqualified judge) will decide the legal consequence, if any,
                         arising from the participation of the disqualified judge in the
                         entered decision.

           Although Advisory Opinion 71 contemplated disqualification after oral argument
    before a Court of Appeals, the Committee explained “[s]imilar considerations would apply
    when a judgment was entered in a district court by a judge and it is later learned that the judge
    was disqualified.”

           With Advisory Opinion 71 in mind, you are invited to respond to Judge Snyder’s
    disclosure of a conflict in this case, including any request to reopen the case. Should you wish to
                                      Eastern Division                         Southern Division
                                3470 Twelfth Street, Room 134            411 West Fourth Street, Suite 1053
                                    Riverside, CA 92501                       Santa Ana, CA 92701
Case 2:11-cv-08557-CAS-DTB Document 637 Filed 08/27/21 Page 2 of 5 Page ID #:26459

   Everardo Carrillo, et al. v. Schneider Logistics, Inc. et al.
   2:11-CV-08557 CAS (DTB)x
   August 27, 2021

   respond, please submit your response by filing it on the docket on or before September 26, 2021.
   Any response will be considered by another judge of this District without the participation of
   Judge Snyder.

                                                  Sincerely,


                                                  Kiry K. Gray
                                                  District Court Executive/Clerk of Court
Case 2:11-cv-08557-CAS-DTB Document 637 Filed 08/27/21 Page 3 of 5 Page ID #:26460

   Everardo Carrillo, et al. v. Schneider Logistics, Inc. et al.
   2:11-CV-08557 CAS (DTB)x
   August 27, 2021

                                        List of Counsel of Record

   Edith P Castaneda                                      Lauren Teukolsky
   Law Offices of Sandra C Munoz                          Teukolsky Law, A Professional Corporation
   5429 East Beverly Boulevard                            201 South Lake Avenue, Suite 305
   Los Angeles, CA 90022                                  Pasadena, CA 91101
   Email: edithcastaneda@att.net                          Email: lauren@teuklaw.com

   Eric P Brown                                           Marisa Hernandez-Stern
   Altshuler Berzon LLP                                   HADSELL STORMER & RENICK, LLP
   177 Post Street Suite 300                              128 North Fair Oaks Ave
   San Francisco, CA 94108                                Pasadena, CA 91103
   Email: ebrown@altber.com                               Email: mhs@hadsellstormer.com

   Gus T May                                              Matthew E DeCarolis
   Bet Tzedek Legal Services                              Bet Tzedek Legal Services
   3250 Wilshire Boulevard, 13th Floor                    3250 Wilshire Blvd 13th Floor
   Los Angeles, CA 90010                                  Los Angeles, CA 90010
   Email: gmay@bettzedek.org                              Email: mdecarolis@bettzedek.org

   Janet M Herold                                         Michael Rubin
   SEIU Change to Win CLC                                 Altshuler Berzon LLP
   2629 Foothill Blvd Suite 357                           177 Post Street Suite 300
   La Crescenta, CA 91214                                 San Francisco, CA 94108
   Email: janet.herold@seiu.org                           Email: mrubin@altshulerberzon.com

   Jennifer Sung                                          Sandra C Munoz
   Altshuler Berzon LLP                                   Law Offices Of Sandra C. Munoz
   177 Post Street Suite 300                              5429 East Beverly Boulevard
   San Francisco, CA 94108                                Montebello, CA 90640
   Email: jensung589@gmail.com                            Email: sandra@scmlawoffices.com

   Jonathan David Weissglass                              Theresa M Traber
   Law Office of Jonathan Weissglass                      Traber and Voorhees
   1939 Harrison Street Suite 150-B                       128 North Fair Oaks Avenue
   Oakland, CA 94612                                      Pasadena, CA 91103
   Email: jonathan@weissglass.com                         Email: tmt@tvlegal.com

   Kevin Kish                                             Matthew E DeCarolis
   Bet Tzedek Legal Services                              Bet Tzedeck Legal Services
   3250 Wilshire Blvd., 13th Floor                        3250 Wilshire Boulevard 13th Floor
   Los Angeles, CA 90010                                  Los Angeles, CA 90010
   Email: kkish@bettzedek.org                             Email: mdecarolis@bettzedek.org
Case 2:11-cv-08557-CAS-DTB Document 637 Filed 08/27/21 Page 4 of 5 Page ID #:26461

   Everardo Carrillo, et al. v. Schneider Logistics, Inc. et al.
   2:11-CV-08557 CAS (DTB)x
   August 27, 2021

   Sandra C Munoz                                         Brian Richard Weilbacher
   Law Offices Of Sandra C. Munoz                         Weilbacher and Weilbacher APC
   5429 East Beverly Boulevard                            5850 Thille Street Suite 200
   Montebello, CA 90640                                   Ventura, CA 93003
   Email: sandra@scmlawoffices.com                        Email: brianweilbacher@weilbacherlaw.com

   Alec R Hillbo                                          Christopher Louis Moriarty
   Ogletree Deakins Nash Smoak and Stewart                Constangy Brooks and Smith LLP
   400 South Hope Street Suite 1200                       15760 Ventura Boulevard Suite 1200
   Los Angeles, CA 90071                                  Encino, CA 91436
   Email: alec.hillbo@ogletreedeakins.com                 Email: CMoriarty@constangy.com

   Betsy Johnson                                          Michael S Lavenant
   Ogletree Deakins Nash Smoak and Stewart                Constangy Brooks and Smith LLP
   400 South Hope Street Suite 1200                       15760 Ventura Boulevard Suite 1200
   Los Angeles, CA 90071                                  Encino, CA 91436
   Email: betsy.johnson@ogletreedeakins.com
                                                          Jonathan Fraser Light
   Christopher M Ahearn                                   LightGabler LLP
   Fisher and Phillips LLP                                760 Paseo Camarillo Suite 300
   444 South Flower Street Suite 1500                     Camarillo, CA 93010
   Los Angeles, CA 90071                                  Email: jlight@lightgablerlaw.com
   Email: cahearn@fisherphillips.com
                                                          Alice Shelor Wang
   Douglas J Farmer                                       Fisher and Phillips LLP
   Ogletree Deakins Nash Smoak and Stewart                2050 Main Street Suite 1000
   Steuart Tower                                          Irvine, CA 92614
   One Market Plaza Suite 1300                            Email: awang@laborlawyers.com
   San Francisco, CA 94105
   Email: douglas.farmer@ogletree.com                     Jeff Weintraub
                                                          Weintraub Stock PC
   Kimberly C. Carter                                     1715 Aaron Brenner Drive Suite 312
   Kelley Drye and Warren LLP                             Memphis, TN 38120
   1800 Century Park East Suite 600                       Email: jweintraub@laborlawyers.com
   Los Angeles, CA 90067
   Email: kcarter@kelleydrye.com                          Jimmie Emile Johnson
                                                          Fisher and Phillips LLP
   Truc T Nguyen                                          2050 Main Street Suite 1000
   McGuireWoods LLP                                       Irvine, CA 92614
   1800 Century Park East 8th Floor                       Email: jjohnson@laborlawyers.com
   Los Angeles, CA 90067
   Email: tnguyen@mcguirewoods.com                        John L Barber
                                                          Lewis Brisbois Bisgaard and Smith LLP
                                                          633 West 5th Street Suite 4000
Case 2:11-cv-08557-CAS-DTB Document 637 Filed 08/27/21 Page 5 of 5 Page ID #:26462

   Everardo Carrillo, et al. v. Schneider Logistics, Inc. et al.
   2:11-CV-08557 CAS (DTB)x
   August 27, 2021

   Los Angeles, CA 90071                                  Sabrina A Beldner
   Email: john.barber@lewisbrisbois.com                   McGuireWoods LLP
                                                          1800 Century Park East 8th Floor
   John K Skousen                                         Los Angeles, CA 90067
   Fisher and Phillips LLP                                Email: sbeldner@mcguirewoods.com
   2050 Main Street Suite 1000
   Irvine, CA 92614                                       Dylan Ruga
   Email: jskousen@fisherphillips.com                     Stalwart Law Group
                                                          1100 Glendon Avenue Suite 1840
   Paul A Mata                                            Los Angeles, CA 90024
   Lewis Brisbois                                         Email: dylan@stalwartlaw.com
   633 W. 5th Street, Suite 4000
   Los Angeles, CA 90071                                  Mark A. Neubauer
   Email: paul.mata@lewisbrisbois.com                     Carlton Fields LLP
                                                          North Tower
   Rachel J Lee                                           2029 Century Park East, Suite 1200
   Lewis Brisbois Bisgaard & Smith LLP                    Los Angeles, CA 90067-2913
   221 North Figueroa Street Suite 1200                   Email: mneubauer@carltonfields.com
   Los Angeles, CA 90012
   Email: rachel.lee@lewisbrisbois.com                    Aaron James Lockwood
                                                          Greenberg Traurig LLP
   Tracy Wei Costantino                                   2375 East Camelback Road Suite 700
   Lewis Brisbois Bisgaard & Smith LLP                    Phoenix, AZ 85016
   633 West 5th Street Suite 4000                         Email: lockwooda@gtlaw.com
   Los Angeles, CA 90071
   Email: tracy.costantino@lewisbrisbois.com              Lawrence Allen Katz
                                                          Steptoe and Johnson LLP
   Matthew Charles Kane                                   201 East Washington Street Suite 1600
   McGuireWoods LLP                                       Phoenix, AZ 85004
   1800 Century Park East 8th Floor                       Email: lkatz@steptoe.com
   Los Angeles, CA 90067
   Email: mkane@mcguirewoods.com                          Mark E Freeze
                                                          Steptoe and Johnson LLP
   John A Van Hook                                        201 East Washington Street Suite 1600
   McGuire Woods LLP                                      Phoenix, AZ 85004-2382
   1800 Century Park East 8th Floor                       Email: mfreeze@steptoe.com
   Los Angeles, CA 90067-1501
   Email: john@vanhooklawfirm.com                         Steven D Wheeless
                                                          Steptoe and Johnson LLP
   Michael David Mandel                                   201 East Washington Street Suite 1600
   McGuireWoods LLP                                       Phoenix, AZ 85004
   1800 Century Park East 8th Floor                       Email: swheeless@steptoe.com
   Los Angeles, CA 90067-1501
